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7    Attorneys for Plaintiff
8                              IN THE UNITED STATES DISTRICT COURT
9                               IN AND FOR THE DISTRICT OF ARIZONA

10
                                                      )
11   MATHEW RUIZ, Individually,                       )      Case No.:
                                                      )
12               Plaintiff,                           )
                                                      )      SUMMONS
     v.                                               )
13
                                                      )
14   UNTIED STATES OF AMERICA; JEREMY                 )
     KISER, Officer of the Department of Homeland     )
15   Security/Immigration and Customs Enforcement,    )
                                                      )
16
                    Defendants.                       )
                                                      )
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19
     THE UNITED STATES DISTRICT COURT OF ARIZONA TO THE DEFENDANT:
20

21                                                    UNITED STATES OF AMERICA
                                                      c/o Elizabeth Strange
22
                                                      U.S. Attorney for the District of Arizona
23                                                    522 N. Central Avenue
                                                      Phoenix, AZ 85004
24

25           YOU ARE HEREBY SUMMONED and required to appear and defend within the
     time applicable, in this action in this Court. Pursuant to the Federal Rules of Civil
26
     Procedure (FRCP) 12 (a)(2), you shall serve an answer or motion, under Rule 12 of the
27   FRCP, within 60 days after the service of the Summons and Complaint upon you,
     exclusive of the date of service. The answer or motion must be served on the Plaintiff or
28
     Plaintiff’s attorney.



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1            YOU ARE HEREBY NOTIFIED that in the case of your failure to appear and defend
     within the time applicable, judgment by default may be rendered against you for the relief
2
     demanded in the Complaint.
3

4           Requests for reasonable accommodation for persons with disabilities must be made
     to the Court by parties at least three (3) judicial days in advance of a scheduled court
5
     proceeding.
6
            The name and address of attorney for Plaintiff(s) is shown above.
7

8

9                  SIGNED AND SEALED this                day of                         , 2018.
10
                                                  Clerk of the Arizona District Court
11

12
                                                  By                                      _____
13                                                     Clerk/Deputy Clerk

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